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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In Re:                                           )     Chapter 13
Harry James Freese                               )     Case No. 17-56755-WLH
                                                 )     Judge Wendy L. Hagenau
                                                 )

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of THE BANK OF NEW YORK MELLON FKA THE BANK OF
NEW YORK, AS TRUSTEE (CWALT 2005-56), for itself, its successors and assigns
(hereinafter referred to as “Creditor”), a secured creditor in the above referenced case on real
property located at 1270 Keans Ct, Roswell, GA 30075. Creditor, through counsel, hereby
requests that all notices to Debtor(s) or Creditors also be mailed in care of Creditor as follows:

                               Shapiro Pendergast & Hasty, LLP
                               211 Perimeter Center Parkway, N.E., Suite 300
                               Atlanta, GA 30346


Dated September 25, 2017
                                                      Shapiro Pendergast & Hasty, LLP


                                                      /s/Taylor S. Mansell
                                                      Taylor S. Mansell
                                                      Georgia Bar No. 940461
                                                      211 Perimeter Center Parkway, N.E.
                                                      Suite 300
                                                      Atlanta, GA 30346
                                                      Phone: 770-220-2535
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